
425 F.Supp.2d 1321 (2006)
HYUNDAI ELECTRONICS INDUTRIES CO., LTD. and Hyundai Electronics America, Inc., Plaintiffs,
v.
UNITED STATES, Defendant, and
Micron Technology, Inc., Defendant-Intervenor.
Slip Op. 06-46. Court No. 00-01-00027.
United States Court of International Trade.
April 5, 2006.

JUDGMENT ORDER
GOLDBERG, Senior Judge.
Upon consideration of the United States Department of Commerce's Final Results of Redetermination Pursuant to Remand ("Redetermination Results") filed pursuant to the Court's decision in Hyundai Electronics Industries Co., Ltd. v. United States, 414 F.Supp.2d 1289, 30 CIT ___ (CIT 2006); and upon consideration of the fact that no parties have filed negative comments regarding the Redetermination Results; and upon consideration of all other papers filed herein; and upon due deliberation, it is hereby
ORDERED that the Redetermination Results are sustained in all respects.
SO ORDERED.
